            Case 1:19-cr-00038-RJL Document 65 Filed 08/20/21 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     )
                                             )
               v.                            )      Criminal No. 19-CR-38
                                             )
NAEEM TYAB,
                                   )
                  Defendant.       )
__________________________________ )


    GOVERNMENT’S CONSENT MOTION TO CONVERT STATUS HEARING TO
                 VIRTUAL HEARING OR TO CONTINUE

       The United States, by and through its attorney, the United States Attorney for the District

of Columbia, respectfully moves this Court to convert the status hearing scheduled for September

1, 2021, to a tele-hearing or video hearing, or to continue the hearing to a new date that is

convenient for the parties. In support of this motion, the government cites the following points

and authorities.

       1.      The parties were last before the Court on June 21, 2021. At that hearing, the Court

scheduled our next status hearing for September 1, 2021. Since that time, undersigned government

counsel has had a family commitment arise outside of this jurisdiction.         Accordingly, the

government requests that the hearing on September 1 be converted to a tele-hearing or video

hearing or be rescheduled.

       2.      Should the Court prefer to reschedule for an in-person hearing, the government has

consulted with defense counsel, and the best dates for all parties would be: Monday, September

20 (any time); Tuesday, September 21 (afternoon); Wednesday, September 22 (any time); Friday,

September 24 (any time).

       3.      Undersigned counsel apologizes to the Court, counsel, and Mr. Tyab for any

inconvenience.
  Case 1:19-cr-00038-RJL Document 65 Filed 08/20/21 Page 2 of 2




WHEREFORE, the Government respectfully requests that this motion be granted.


                                         Respectfully submitted,

                                         CHANNING D. PHILLIPS
                                         ACTING UNITED STATES ATTORNEY

                                         By: s/ Kathryn Rakoczy
                                         Kathryn Rakoczy
                                         D.C. Bar No. 994559
                                         Assistant United States Attorney
                                         Kathryn.Rakoczy@usdoj.gov
                                         555 4th Street, N.W., Room 5239
                                         Washington, D.C. 20530
                                         (202) 252-6928

                                         DANIEL KAHN
                                         ACTING CHIEF, FRAUD SECTION

                                         DEBORAH L. CONNOR
                                         CHIEF, MONEY LAUNDERING &
                                         ASSET RECOVERY SECTION

                                         By: s/ Katherine Raut
                                         Katherine Raut
                                         D.C. Bar No. 995065
                                         Tarsha Phillibert
                                         Steven Parker
                                         Trial Attorneys
                                         Department of Justice
                                         1400 New York Ave. N.W.
                                         Washington, D.C. 20005
                                         Telephone: (202) 616-2577
                                         Katherine.Raut@usdoj.gov
                                         Tarsha.Phillibert@usdoj.gov
                                         Steve.Parker2@usdoj.gov




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